
62 So.3d 748 (2011)
In re Jamilla A. BYNOG.
No. 2009-OB-2609.
Supreme Court of Louisiana.
April 6, 2011.

ORDER
Considering the "Request to Extend Conditional Admission" filed by the Office of Disciplinary Counsel,
IT IS ORDERED that the ODC's request to extend the term of petitioner's conditional admission be and hereby is denied. The probationary period imposed by this court in In re: Bynog, 09-2609 (La.12/16/09), 23 So.3d 895, shall be terminated, as the court finds petitioner has substantially complied with all terms of probation.
/s/ Bernette J. Johnson
/s/ Justice, Supreme Court of Louisiana
GUIDRY, J., would consider extending probation.
